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                         United States District Court
                         Office of the Court Monitor
            Emma C., et al., v. Tony Thurmond, et al. (No. C96-4179 VC)

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                                                                     Court Monitor




       Review of the California Department of Education’s
               Phase 2 (Continued) Submission:
                          Data Analysis




                                                                      March 9, 2020
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                                    I. Background/Introduction

        The Court’s May 18, 2018 Order re State’s Obligations Under Consent Decree
adopted a four-phase process for determining whether the California Department of
Education (CDE) has demonstrated that its monitoring and enforcement system
complies with the Individuals with Disabilities Education Act (IDEA) (Dkt. No. 2387 at
1-2). The Court’s Order determining Phase 1 compliance was issued on August 17, 2018
(Dkt. No. 2428); the Court’s Phase 2 Order was issued on July 5, 2019 (Dkt. No. 2520).
        The Court found in the Phase 2 Order that CDE’s method of selecting school
districts for monitoring was “riddled with serious defects,” defects “so serious, and so
numerous,” that they impair the state’s ability to monitor districts’ compliance with
special education requirements effectively. For that reason, the Court determined that
Phase 3 of this inquiry would not begin until the State Defendants address, or are on
their way to addressing, these defects (Dkt. No. 2520 at 1, 2).
        Accordingly, this report will examine the extent to which CDE has demonstrated
that it has addressed, or is on its way to addressing, the defects identified in the Phase 2
Order. CDE timely submitted its document responding to the Court’s Phase 2 Order on
January 31, 2020 (Dkt. No. 2545).
        In order to perform necessary analyses of CDE’s submission, data were
requested from CDE on 2/10.1 The bulk of the requested data was received on 2/14.
Additional data were received on 2/28.2 CDE filed its explanation of the application of
its small district selection methodology to targeted monitoring of performance on 3/2
(Dkt. No. 2553).

                       II. Narrative Summary and Table of Conclusions

A. Narrative Summary

        A reader of the table of conclusions in the next subsection of this report might
assume that this report had concluded that CDE’s submission was inadequate in all
respects. But the conclusions of this report are much more nuanced than can be
captured by the binary categories “compliant” or “noncompliant.” It is clear from its
submission that CDE took the findings of the Phase 2 Order very seriously.
        The indicators used by CDE to select districts for both intensive monitoring
processes under consideration (four indicators for preschool and six for school age)
have a clear relation to the FAPE and least restrictive environment requirements of the
IDEA. The formulas and the lowest-decile approach to selection are strong, and reliably
select the lowest-performing large districts across all the indicators in its formulas for
both monitoring processes. For the selection of large districts CDE’s new approaches
are clear improvements over its prior processes.

1 Mlawer email to Gill and Spence, 2/10/20.
2 The data were provided by CDE on seven different tabs in an Excel file. There were some
inconsistencies in the data across the tabs. These were reconciled, but it is possible that this was not done
perfectly.


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        It should also be noted that, for school age intensive monitoring, CDE’s formula
does not select the majority of the lowest-performing large districts on five of the six
indicators; for preschool a majority of the lowest-performing large districts on each of
the four indicators are not selected, including the least restrictive environment
indicators. This is due to the nature of selection formulas with multiple indicators:
very poor performance on one indicator can be overcome by better performance on the
other indicators. This report sets forth some possible modifications to CDE’s processes
that would make the selection processes more compatible with the effective monitoring
of large districts. It should also be noted that a child find indicator is not included in
the selection formulas for either of the intensive monitoring processes.
        For the selection of small districts for intensive monitoring, although it is
challenging to create an effective selection approach, the application of CDE’s small
district grouping methodology does not result in the selection of the lowest-performing
districts and, for school age, also does not select enough small districts for intensive
monitoring. Several alternative methods that can select a higher percentage of low-
performing small districts are explored.
        Turning to targets, CDE’s new child find target is adequate to select large
districts for targeted monitoring. While a high percentage of large districts are selected
for targeted monitoring of least restrictive environment, the current targets are still not
ambitious enough in light of state and national data.
        With respect to selection of small districts for targeted monitoring, CDE’s use of
its small local educational agency (LEA) grouping and selection methodology does not
result in the selection of the lowest-performing small districts for targeted monitoring of
child find or least restrictive environment. For child find, CDE’s definition of a small
district is also problematic because it is based on the circumstance in question in child
find monitoring: the number of students currently identified as having disabilities. For
other indicators, CDE sets forth secondary standards to select districts from a selected
small district group. These are not concerning for three of the indicators, but are not
adequate for selection for two.
        For small districts that would be preliminarily designated as meeting the
requirements of the IDEA without further monitoring, some of these small districts
show performance problems related to important indicators.
        With respect to mediation, CDE’s proposed proxy methodology is a reasonable
approach to identifying districts reluctant to engage in mediation with parents.
However, districts selected by CDE’s methodology are not selected for a monitoring
process.

B. Table of Conclusions

       Section                   Topic                    Compliance Conclusion
         III       Mediation                                 Noncompliant
         IV        Small School Districts                    Noncompliant
         V         Targets                                   Noncompliant
         VI        Intensive Monitoring-Preschool            Noncompliant


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         Section                    Topic                            Compliance Conclusion
           VII        Intensive Monitoring-School Age                   Noncompliant

       In addition to these topics, Section VIII includes brief updates regarding two
other issues—restraint and seclusion and IEP implementation. Conclusions cannot yet
be reached on these two issues.

                                            III. Mediation

      The Court ruled that CDE did not assess districts’ use of mediation although
mediation is a priority area for states’ monitoring activities. While mediation is
voluntary, the Court did not regard it as obvious that the state could not take some
form of action if a district routinely refused to engage in mediation. In addition, the
Court wrote:

            As the drafters of the IDEA have signaled, mediation is a useful
            alternative for parents who lack the resources to hire a lawyer to assist
            with a due process complaint, or who prefer more informal and
            nonadversarial methods for resolving disputes. Analyzing mediation
            data could therefore reveal trends not separately captured by an
            analysis of formal due process complaints or complaints made to the
            state. The state could also combine mediation data with other data –
            for example, districts’ suspension rates or assessment outcomes – to
            form a more complete picture of district performance. (Dkt. No. 2520
            at 14-15; quote at 14)

CDE’s proposed approach is less ambitious.
        It is worth noting at the outset that California has more mediation requests per
capita than almost all other states. The most recent available federal data for the 2016-
17 school year show a national average of 17 mediation requests per 10,000 children and
students ages 3-21 served under the IDEA; California had 62 mediation requests per
10,000 children and students. Only two other states exceeded 60 per 10,000.3
        After noting that parties can request mediation after filing for a due process
hearing, or can request “mediation only” without filing for a hearing, CDE points out
that data regarding the reason(s) mediation did not take place are not currently
collected. For that reason, CDE proposes a proxy methodology that uses four filters.
        The table below displays the components of each filter and the number of
districts identified by each filter using 2018-19 data:


3U.S. Department of Education (DOE), 41st Annual Report to Congress on the Implementation of the
Individuals with Disabilities Education Act, 2019
(https://www2.ed.gov/about/reports/annual/osep/2019/parts-b-c/41st-arc-for-idea.pdf), at 195-197.
California also exceeded the national average for signed, written complaints per 10,000 (13 versus 8), and
for due process complaints (60 versus 27).


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    Filter #                                Filter                                               # LEAs
       1     Identify LEAs that filed for due process only without mediation                        4
             Identify LEAs in cases:
             • resolved by hearing/decision
             and
       2     • no data showing mediation held                                                       37
             and
             • no data showing willingness to mediate (mediation scheduled
             but not held)4
             Identify LEAs in cases:
             • in which parents filed for “mediation only”
             and
       3                                                                                            16
             • no data showing mediation held
             and
             • data showing one party “declined to participate”
             Identify and remove LEAs that filed for “mediation only” in
       4                                                                                            56
             same year5

Based on the 2018-19 data, this methodology would select 42 LEAs.
        However, these LEAs would not be selected for a monitoring process, but
instead for “targeted technical assistance.” This assistance would begin in the 2020-21
school year, with selection presumably based on 2019-20 data (Dkt. No. 2545, Ex. 1 at
12-15).
        As the foregoing makes clear, CDE’s proposed methodology does not seek to
connect mediation data with data concerning complaints filed against districts, or to
data about student performance, placements, or suspensions. The failure to do so is a
missed opportunity to form a more complete picture of a district at the point in time of
selection.
        But the question for this report is whether making such connections through data
at the point of selection is necessary in order to monitor mediation effectively. In the
absence of data that speak directly to the issue, CDE’s proxy methodology is a
reasonable approach to identifying districts that may not be willing to mediate. If Phase
2 of this inquiry only concerned the identification of such districts, without regard for
the intervention those districts are identified for, the conclusion of the court monitor
regarding mediation at Phase 2 would be “compliant.”
        However, the statute makes clear that mediation is a priority area for monitoring
(20 U.S.C § 1416(a)(3)). Technical assistance is not monitoring, and the monitoring of a

4 The assumption here is that the scheduling of a mediation indicates a district’s willingness to mediate in
that particular case. This approach would not capture districts that schedule a mediation but then cancel
it.
5 The assumption here is that requesting “mediation only” at any point in the year shows that the LEA

has a general willingness to mediate. Of course, a district could request “mediation only” in a
circumstance in which it felt its due process case would be weak, but refuse mediation in a situation in
which it believed its case was strong.


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monitoring priority area is not optional.6 The state offers no reason to believe that when
the statute speaks of monitoring it means technical assistance.7 Congress could have
made mediation a priority for technical assistance rather than monitoring, but did not
do so.8
        In the Phase 2 Order the Court also found that mediation is a priority area for
monitoring, writing:

            But in contrast to some of the other areas discussed in this ruling, the
            monitoring obligation in the statute is specific rather than general.
            Federal regulations require states to prioritize mediation in their
            monitoring activities. See 34 C.F.R. § 300.600(d)(2). Because the state
            does not do this, it is out of compliance with federal law. (Dkt. No.
            2520 at 15)

        Conclusion: Noncompliant.
        Reasons for Conclusion: CDE’s proposed proxy methodology is a reasonable approach to
identifying districts. However, the districts selected through CDE’s methodology are not
selected for a monitoring process.

                                      IV. Small School Districts

        The Phase 2 Order found that, due to the state’s use of minimum n-sizes to
measure performance (with the exception of the timeliness requirements), small
districts were “functionally exempt” from many monitoring activities, and were
therefore more likely to be classified by CDE as meeting the requirements of the IDEA
(Dkt. No. 2520 at 11-12).
        CDE’s submission puts forth a new approach to the general supervision of small
school districts. It defines a small LEA as one with 100 or fewer students with
disabilities. It considered two methodologies for the analysis of small LEAs: grouping
by Special Education Local Plan Area (SELPA) or grouping by county. But each
methodology had disadvantages. In short, the SELPA method, due to some LEAs’
status as single-district SELPAs, results in some groupings having very few students
with disabilities. The county approach results in the attribution of performance
6 Monitoring is a required activity for the expenditure of the IDEA funds reserved for state-level activities;
in contrast, technical assistance is an authorized activity for such funds (compare the use of “shall” at 20
U.S.C. § 1411(e)(2)(B) with the use of “may” at (C)).
7 Because mediation is voluntary on the part of both parties to a dispute, a potential objection to this line

of reasoning is that there are no requirements to monitor here. But an unwillingness to mediate may
result in due process hearings or complaints. Analysis of the substance of those disputes may connect
with other data, data that could reveal that a district unwilling to mediate may have problems delivering
FAPE to students, placing them in the least restrictive environment, and/or may be suspending students
rather than providing them with effective positive behavior supports. Analysis of such data regarding
the districts selected can provide a guide to issues that may merit probing through monitoring.
8 As CDE’s system of making annual determinations of districts designates those not selected for any

monitoring process as meeting the requirements of the IDEA, districts selected for targeted technical
assistance for mediation would presumably be eligible for a “meets requirements” determination.


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problems for accountability purposes to charter authorizers that are in the same county
but may not be in the same SELPA.
       Due to these concerns CDE ultimately created a hybrid of both methodologies:
all small LEAs are grouped by county, unless the LEA is a charter LEA and belongs to a
charter SELPA (Dkt. No. 2545, Ex. 1 at 10-12).
       In the subsections below, this report examines selection of small districts for
targeted monitoring, intensive monitoring of preschools, intensive monitoring of school
age students, and the effect of CDE’s selection methods for small districts on “meets
requirements” annual determinations.

A. Targeted Monitoring of Performance

        For targeted monitoring, both of timeliness and disproportionality, CDE’s
submission indicates that selection for these processes has not changed since its last
Phase 2 submission. But for targeted monitoring of performance CDE states that it is
using the small LEA aggregation method for the 2019-20 monitoring year (Dkt. No.
2545, Ex. 1 at 17-18; see also Attachment 1 at 1, Dkt. No. 2545 at 41). However, unlike its
discussions of intensive monitoring,9 CDE’s submission does not explain, illustrate, or
set forth standards to govern the process of selecting small districts for targeted
performance monitoring.
        For that reason, CDE was asked to explain and illustrate the application of the
small LEA methodology to selection for targeted monitoring of performance.10 CDE
filed its response to the inquiry on 3/2 (Dkt. No. 2553).
        CDE writes in this supplemental submission that there were 2,255 LEAs in the
state in the 2018-19 school year. The small LEA aggregation methodology results in 684
LEAs and 63 small LEA groups, for a total of 747 LEAs and groups. For selection for
targeted monitoring of performance, CDE does not analyze the LEAs and small LEA
groups using the decile approach it uses for intensive monitoring of preschools and
school-age populations; instead, it uses the standard it has set for each of the relevant
indicators. These standards are failing to meet federal SPP targets, Dashboard scores of
Red or Orange, or the special education identification rate, depending on the indicator.
        If a small LEA group’s collective performance fails to meet the relevant standard
for any indicator, that small group is selected for that indicator. Based on the 2018-19
data, CDE states that 62 of the 63 small LEA groups were initially selected for at least
one indicator. These 62 small groups included all but one of the small LEAs in the state
(1,570 of 1,571 small LEAs). CDE’s supplemental submission does not set forth the
number of small LEA groups selected for each relevant indicator.
        If a small LEA group is not selected for a particular indicator, then none of the
small LEAs in that group can be selected for targeted monitoring of performance of that
indicator. But if a small group is selected for an indicator, then CDE proceeds to what it
terms a “secondary analysis” of that indicator for each small LEA in that group. The

9 See Dkt. No. 2545 at 25-26, 31 for the standards for selection of the LEAs in a poorly performing small
LEA group for intensive monitoring.
10 Mlawer email to Gill and Spence, 2/10/20.




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secondary analysis uses as a guiding principle whether or not the small LEA
“contributed negatively” to its small LEA group’s performance on that indicator. This
principle, as operationalized by CDE, amounts to a set of standards different from the
standards used to select the small group, with the exception of child find. These
standards are stated clearly in CDE’s supplemental submission (Dkt. No. 2553, Ex. 1 at
3-10; the secondary standards are found at 7).
        Review of the data provided by CDE showed that for the indicators relevant to
the Emma C. litigation, 705 of the 1,571 small districts (44.88%) were selected for
targeted monitoring in at least one indicator.11 The table below shows the number of
small districts selected for one through four indicators:

                                     # Indicators        # Selected
                                          1                 340
                                          2                 314
                                          3                  46
                                          4                   5

       The data also showed that four of the small LEA groups created by CDE had
only one LEA member. These four LEAs had child counts ages 3-21 of 18, 64, 14, and 56
students.
       The application of CDE’s small district selection methodologies and secondary
standards are analyzed below in the Targets, Intensive Monitoring-Preschool, and
Intensive Monitoring-School Age sections of this report. The conclusions of those
sections with respect to the selection of small districts are briefly summarized below.

        Selection of Small Districts for Child Find: As noted above, CDE’s definition of a
small district is based on the number of students with disabilities. For child find, this
definition is problematic because it defines a small district based on the very
circumstance in question in child find monitoring: whether the district has identified all
students who have disabilities. Moreover, CDE’s method does not select the small
districts with the lowest identification rates due to CDE’s process of grouping small
districts. Alternative approaches select small districts with much lower mean
identification rates than those selected by CDE.

       Selection of Small Districts for Intensive Monitoring-Preschool: The
overwhelming majority of the lowest-performing small districts on each of the four
indicators in CDE’s formula were not selected for intensive monitoring by CDE. This is
due to the effect of CDE’s small LEA grouping methodology. Several alternative
methods that can select a higher percentage of low-performing small districts are
explored in the Intensive Monitoring-Preschool section below.


11This includes 14 districts that it appeared CDE miscoded as not selected. These were coded as “ES”
rather than ‘YES” in the cell for selection for targeted monitoring for federal indicator 5C (school-age
separate placements).


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        Selection of Small Districts for Intensive Monitoring-School Age: The application
of CDE’s small LEA grouping methodology does not result in the selection of the
lowest-performing districts, and does not select enough small districts for intensive
monitoring. It is challenging to create an effective selection approach for small districts,
but alternative methods that can select a higher percentage of low-performing small
districts are explored in the Intensive Monitoring-School Age section below.

       Although other targets were not found to be problematic by the Phase 2 Order,
the secondary standards for some of these are sufficiently different from the primary
targets that they merit brief discussion. If a small LEA group is selected for any of these
indicators, the standards below are used to select individual small districts for targeted
monitoring. CDE’s supplemental submission does not offer a rationale for these
secondary standards (Dkt. No. 2553, Ex. 1 at 7).

       1. Participation on State Assessments

       A small LEA group is selected if it has a collective participation rate below 95%.
A small district from a selected small group is selected for targeted monitoring of
participation in assessments if it has no students participating in either of the
assessments, a 0.00% participation rate. The secondary standard is quite far from the
primary standard. For that reason, even a small district in a selected small LEA group
with a participation rate of 10% would not be selected by this secondary standard.
       CDE’s data shows that 12 small districts were selected for participation in Math
and 12 for participation in English/Language Arts (0.76% of the 1,571 small districts).

       2. Performance on State Assessments and Suspension (Dashboard Indicators)

       A small LEA group is selected if it has a collective Dashboard designation of Red
or Orange on these indicators. A small district from a selected small group is selected
for targeted monitoring of these indicators if it has a designation of Red or Orange or a
change in the wrong direction from the prior year. Assuming CDE’s standard for
selection of a large district (Red or Orange on any of these indicators) has not changed,
the secondary standard is higher, as it also captures any district in a selected small
group with a negative change from the prior year.
       The table below shows the number and percentage of the small districts selected
by CDE for these indicators:

                                         # Selected    % Selected by
                                          by CDE       CDE (of 1,571)
                    ELA Proficiency         365           23.23%
                    Math Proficiency        383           24.38%
                    Suspension              165           10.50%



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 This is a sound number of districts to select for targeted monitoring of these important
 indicators.

        3. Parent Involvement

        A small LEA group is selected if it has a collective rate of below 93% of parents
 reporting that their district facilitated parental involvement. A small district from a
 selected small group is selected for targeted monitoring if it has “0 positive parent
 involvement,” which presumably means a rate of 0.00%. CDE’s data shows that no
 small districts were selected using this secondary standard. Given how far the
 secondary standard is from the primary, this is not surprising. Moreover, CDE data
 indicate that there are no small districts in the state that would be selected using this
 standard if it were applied to all.

 B. “Meets Requirements”

        In order to ascertain which of the 1,571 small districts would be preliminarily
 determined to meet the requirements of the IDEA without further monitoring, those
 that were selected for any intensive or targeted monitoring process were removed. Of
 the 1,571, 532 small districts were not selected for any monitoring process.
        The table below shows the number of students with disabilities in these districts:

               # SWD Ages 6-21 at Census # Districts         Percent of Total
                      Missing                3                    0.56%
                        1-10                158                  29.70%
                        11-20               137                  25.75%
                        21-50               184                  34.59%
                        51-70               38                    7.14%
                       71-100               12                    2.26%
                        Total               532                  100.00%

 The majority of these districts have at least 11 students with disabilities.
        The table below shows the extent to which these districts had 0.00% proficiency
 rates on assessments:

                         Assessment                                # Districts   % Districts
No ELA or Math Scores                                                  55          10.34%
0% Proficiency Rate for ELA and 0% Proficiency Rate for
                                                                       94           17.67%
Math
0% Proficiency Rate for ELA but Greater than 0% Proficiency
                                                                       15            2.82%
Rate for Math
0% Proficiency Rate for Math but Greater than 0% proficiency
                                                                       78           14.66%
rate for ELA


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                        Assessment                                 # Districts        % Districts
Greater than 0% Proficiency Rate for ELA and Math                     290               54.51%

 Over one-third of these districts (35.15%) had 0.00% proficiency rates on both
 assessments or on one assessment. Over half of these districts had greater than 0.00%
 proficiency rates on both assessments.
        The table below shows the suspension rates for these districts:

                        Suspension Rate # Districts % Districts
                       No suspension rate  14         2.63%
                       0.00%               350       65.79%
                       .01-2.49%           36         6.77%
                       2.50-4.49%          34         6.39%
                       4.50%-9.99%         58        10.90%
                       10.00%+             40         7.52%
                       Total               532       100.00%

 The majority of these districts had a suspension rate of 0.00%. But 18.42% of them had
 suspension rates of at least 4.50%.
        Finally, turning to the performance of the small districts that would preliminarily
 be designated “meets requirements” on the five least restrictive environment indicators,
 the table below shows the extent to which these districts did not meet the targets for
 those indicators:

                                                        FFY 2018      # Small Districts
                       Indicator
                                                         Target      not Meeting Target
   5A. Percent students in regular classes for
                                                        52.20%                   40
   greater than 80% of the school day
   5B. Percent students in regular classes less than
                                                        21.60%                   35
   40% of the day
   5C. Percent students in separate placements           3.80%                   28
   6A. Percent children in regular early childhood
                                                        35.90%                   39
   program
   6B. Percent children in separate classes, separate
                                                        31.40%                   24
   schools, and residential facilities

 A small number of these “meets requirements” districts did not meet the targets of a
 given indicator, although for each indicator these represent a small percentage of the
 532 small districts under consideration for this issue.
        The table below shows the number of these districts that missed one through five
 of these targets:




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                       # Targets Missed        # Districts      % Districts
                       None                       410            77.07%
                       One                        84             15.79%
                       Two                        33              6.20%
                       Three                       4             00.75%
                       Four                        1             00.19%
                       Five                        0              0.00%

A large majority of these districts did not miss any of the least restrictive environment
indicators. However, a little under 23% of them missed one through four targets.
       In conclusion, with respect to the districts that would be preliminarily designated
as meeting the requirements of the IDEA, some of these districts show performance
problems related to achievement, suspension, and/or least restrictive environment.
While the number of such districts is not large, it is difficult to understand why districts
whose data show, for example, a suspension rate of over 10% would be designated
“meet requirements” without further monitoring.

        Conclusion: Noncompliant.
        Reasons for Conclusion: CDE does not select the lowest-performing small districts for
either of the intensive monitoring processes under consideration due to its small district
grouping and selection process. For targeted monitoring of child find, CDE’s definition of a
small district is problematic and, again due to its grouping process, CDE does not select the
districts with the lowest identification rates. For other indicators, CDE’s secondary standards
are not concerning for three of the indicators, but are not adequate for selection for two, and, its
grouping process prevents some very low-scoring small districts from being identified for
targeted monitoring. Some of the small districts that would be preliminarily designated as
“meets requirements” show performance problems related to important indicators.

                                            V. Targets

       The Phase 2 Order points out that the federal regulations require “measurable
and rigorous” targets. The Order explains the importance of adequate targets for a
monitoring system:

           An adequate monitoring system requires adequate targets. If targets
           are too modest, states may fail to identify districts that are falling short
           on their obligation to provide an adequate education to disabled
           children. (Dkt. No. 2520 at 15)

Hence, “legally deficient” targets are those that “prevent the state from adequately
monitoring school districts” (Dkt. No. 2520 at 17). For example, CDE’s least restrictive
environment and child find targets were set below statewide performance, and the
performance of the state as a whole in these areas was below national levels. Targets of
these sorts will not select some districts that merit monitoring.


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      The Order does not analyze all of the targets as CDE intended to revise them
presently. But, with some exceptions (see below), the Order requires:

               The state’s new targets must be crafted with its monitoring obligations
               in mind, and it must do a far better job of explaining and justifying its
               targets during the renewed Phase 2. (Dkt. No. 2520 at 18, fn. omitted).

        One implication of the Phase 2 Order is apparent: because legally deficient
targets are those that prevent the state from adequately monitoring districts, the only
targets relevant to the continuation of Phase 2 of this inquiry are those that are used to
select districts for a monitoring process.
        Because some of the relevant targets come from the federal State Performance
Plan (SPP), CDE’s submission explains that DOE informed states in October 2019 that it
was delaying by one year the required submission of new SPP targets for the next six-
year cycle. At that time CDE was in the midst of a stakeholder process to adopt the new
SPP targets. In light of the delay in the adoption of new six-year targets, DOE directed
states to create and submit SPP “extension targets”12 that cover one year. CDE then
reconvened its stakeholder group, received feedback on its proposed one-year
extension targets,13 and submitted those to the State Board for approval.
        A case management conference was held on 2/19/20 to discuss the effect of this
federal delay on the Phase 2 schedule. The Court left it to the parties to decide whether
they wished to discuss the extension targets and draft six-year targets at the upcoming
Phase 2 hearings in June 2020. The parties met and conferred on 2/20 and agreed that
CDE would decide whether to submit the draft targets by the time of its responsive
report (4/7). If so, the monitor would produce a supplemental report. As to the
extension targets, because much of the monitor’s work on these had already been
completed, the parties decided that those data should be included in the report.


12   With respect to the extension targets, CDE writes:

               Extension targets require LEAs to continue to make improvements in outcomes for
               students with disabilities along the same trajectory of the current State Performance
               Plan. (Dkt. No. 2545, Ex. 1 at 16)

This assertion is not supported by a footnote. Thus, it is unclear if CDE is asserting that DOE required
that extension targets continue on the same trajectory as prior targets or if this was a decision made by
CDE.
    Relevant federal documents were reviewed, and do not indicate a DOE directive that these extension
targets should aim at improvements along the same trajectory as the current SPP. The documents
reviewed were an audio recording of the October 2019 DOE technical assistance call and its
accompanying presentation slides, the instructions for the submission of the SPP/Annual Performance
Report (APR), the template for the SPP/APR, and the federal SPP/APR memo (OSEP 19-012489):
https://www.youtube.com/watch?v=2NPIuCzSozc&feature=youtu.be
https://osep.grads360.org/#communities/pdc/documents/18297
https://osep.grads360.org/#communities/pdc/documents/18274
https://osep.grads360.org/#communities/pdc/documents/18300.
13 The stakeholders were “generally supportive,” CDE writes (Dkt. No. 2545, Ex. 1 at 16).




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        As noted above, many of the SPP targets are not currently used by CDE for the
purpose of selecting districts for monitoring or are no longer applicable to Phase 2.
Specifically:

     •   The Court’s findings regarding the inadequacy of targets specifically do not
         include those for the timeliness, disproportionality, or parent input indicators.
     •   CDE’s new approaches to selection for intensive monitoring of preschools and of
         school-age populations do not use targets to guide selection.
     •   CDE does not use SPP indicator targets for selection for assessment performance
         and suspension; for these indicators CDE’s Dashboard is used.14
     •   The SPP indicator for preschool outcomes is not included in CDE’s targeted
         monitoring of performance.

But targeted monitoring of performance still relies on some targets for selection (Dkt.
No. 2545, Ex. 1 at 17). One of these (child find) is not an SPP indicator. The targets for
each of the indicators relevant to targeted monitoring of performance is discussed
below.

A. Child Find

        CDE refers to this target as a “cutoff,” perhaps to distinguish it from SPP targets.
CDE’s submission states that two changes have been made to its prior methodology.
First, the cutoff for selection was changed from 2.0 standard deviations below the mean
to 1.5 standard deviations. This new cutoff means that non-small districts with
identification rates below 7.23% would be selected for targeted monitoring.
        The other change is grouping small LEAs using the small LEA definition and
methodology set forth above. But the definition advanced by CDE for a small LEA for
the purposes of other monitoring processes (100 or fewer students with disabilities)
defines “small” using the very circumstance that is in question in child find monitoring:
the number of students with disabilities (Dkt. No. 2545, Ex. 1 at 18, 10). In other words,
a district may have 100 or fewer students with disabilities, and therefore be considered
“small” by CDE, because its identification rate is low; and its identification rate may be
low because it is not identifying, locating, and evaluating all children and youth with
disabilities.
        This can have significant implications for selection because the 7.23% cutoff is not
applied to all “small” districts for selection; it is only applied to those sorted into a small
LEA group whose collective identification rate is below the cutoff. CDE’s spreadsheet
showed 2,242 LEAs that had identification rates.15 Of these, 1,581 had 100 or fewer
students with disabilities ages 6-21. Of these 1,581 small districts, 421 (27.02%) had

14 CDE’s use of the Dashboard for the purpose of selection for monitoring is a reminder that, except for
the compliance indicators, state educational agencies are free to use targets other than the SPP targets to
select districts for monitoring.
15 Five LEAs showed identification rates between 216% and 600%. Even though these are impossible

rates, these LEAs were left in the analyses.


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identification rates below 7.23%. Of these 421, 105 small districts were selected by CDE
for targeted monitoring of child find. Two additional districts with missing
identification rates were also selected. Thus, 107 of the 421 small districts with
identification rates below the cutoff (or with missing rates) were selected by CDE
(25.42%).
        If CDE did not group and select small districts, but instead applied its cutoff
identification rate to all districts, then 444 districts of the 2,242 (19.80%) would be
selected for monitoring of child find using CDE’s cutoff of 7.23%. Under its current
approach, based on the data in CDE’s spreadsheets, 130 districts (5.80%) were selected
(23 non-small and 107 small).
        The data provided by CDE shows 62 small LEA groups with identification rates
calculated. Of these 62, ten small LEA groups had collective identification rates below
7.23%. These ten groups include 211 LEAs. Of these 211 LEAs, 107 (50.71%) had
identification rates below 7.23% or missing rates and were therefore selected. The small
LEA groups not flagged for child find monitoring contain 1,370 small LEAs that were
not selected for child find monitoring. Of these 1,370, 317 (23.19%) had identification
rates below the cutoff. Thus, a higher percentage of the LEAs in the selected small LEA
groups had identification rates below CDE’s cutoff than those in the non-selected
groups, an unsurprising result.
        However, that does not mean that CDE has selected the small districts with the
lowest identification rates. The selected districts were selected because they a) were in a
selected small group, and b) because they had identification rates below 7.23%, which is
CDE’s secondary standard when a small group is selected. But 316 small districts that
were not selected also have identification rates below the cutoff, and 104 of these
districts have identification rates below 4%.
        The two groups of small LEAs below the CDE cutoff were compared (two of the
107 had missing identification rates). The results are shown in the table below:

                                       Districts Selected        Districts Not Selected
 # Districts                                  105                          316
 Mean ID Rate                                3.64%                       4.74%
 Range of Rates                           .04%-6.99%                  .05% - 7.21%
 Average Census Count 6-21                   17.95                        19.06
 # (%) Districts Below 2.50%
                                          30 (28.57%)                  48 (15.19%)
 Identification Rate

These data show that the districts selected by CDE have a lower mean identification rate
and slightly fewer students with disabilities on average. The range of identification
rates in both groups are roughly comparable. A total of 78 districts across both groups
have identification rates below 2.50%. A set of districts whose identification rates range
from 0.00% to 2.50% are more in need of child find monitoring than the group selected
by CDE, a group whose rates range all the way up to 6.99%. Fourteen of these 78
districts have total enrollments greater than 1,000 students and 63 have an enrollment



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greater than 100. This suggests that the very low identification rate is not a small
numbers issue.
         This result suggests that the most important factor determining selection of a
small district in CDE’s current approach is not the district’s identification rate; it is the
collective identification rate of the districts in that district’s small LEA group. A district
will only have CDE’s cutoff applied to it if its small group’s collective rate is below
CDE’s cutoff.
         In order to analyze whether alternative approaches to the selection of small
districts would result in the selection of different, worse-performing districts, two other
methodologies were tested: 1) the retention of CDE’s definition of a small district but
not its grouping process, and the application of a different cutoff identification rate for
small districts than that used for non-small districts; and 2) the use of a different
definition of a small district, one based on overall enrollment rather than the number of
students identified as having disabilities. Both alternative approaches aim to select the
same number of small districts selected by CDE in order to make a fair comparison of
the methods.
         The first alternative approach starts from the assumption that larger LEAs would
be more likely to have identification rates similar to the state as a whole due to the
higher numbers of students in such districts compared with small LEAs. CDE’s data
shows that there is a difference in the mean identification rates of the large and small
districts, although it is small (12.39% for the 666 large districts and 11.46% for the 1,576
small districts). Thus, the current cutoff of 7.23% for non-small districts would remain.
However, in this alternative approach, a lower identification rate cutoff would be used
for small districts so that 107 districts would still be selected, and small LEA groups
would not be used for selection.
         The use of this approach results in the selection of 108 small districts (the 107th
and 108th districts had identical identification rates). All of these districts have
identification rates of 2.98% or below. The mean identification rate of this group is
1.65%, compared with the mean of 3.60% for the group selected by CDE. Thus, this
alternative approach—one that does away with CDE’s grouping methodology—results
in the selection of those small districts with the lowest identification rates and, hence,
higher chances of child find problems.
         Of the 108 selected by this alternative method, 67 have fewer than five students
with disabilities (62.04%), compared with 25 of CDE’s 107 selected districts (23.36%).
CDE’s method selects a higher percentage of the larger small districts than this
alternative, although the alternative selects districts with lower identification rates. The
alternative method is problematic because it selects too many very small districts.
         The second approach uses overall enrollment rather than the number of students
identified as having disabilities to define a small district for the reason set forth above
(i.e., a district could be considered “small” by CDE because its identification rate is
low). Defining a small district for child find selection purposes instead as an overall




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enrollment of fewer than 1,000 students, there are 1,578 small districts and 663 non-
small districts.16
         Of the 662 that have an enrollment of at least 1,000 students, 56 districts have an
identification rate below CDE’s cutoff of 7.23%. Thirty-seven (37) of these districts
were selected by CDE (24 as non-small districts and 13 as small districts) Nineteen (19)
of these districts were not selected by CDE. If these 56 non-small districts (as defined
by enrollment) are selected, that leaves 74 small districts to select in order to arrive at
the number selected by CDE. If the 74 with the lowest identification rates are selected
from the group of 1,578 small districts, all of the selected small districts would have
identification rates of 2.75% or below. It should be noted that only 18 of these selected
districts have enrollments of fewer than 100 students. The mean identification rate of
these small districts is 1.53% compared with the mean of 3.60% for those small districts
selected by CDE.
         As noted above, these alternative approaches were created in order to compare
the results to CDE’s, and therefore sought to select the same number of districts as
selected by CDE. The results indicate that the alternative approaches select small
districts with lower mean identification rates than those selected by CDE, although the
first alternative selects more of the smallest of the small districts. CDE’s process of
grouping small districts prevents the identification of those districts with the lowest
rates; and, more importantly, compared to the enrollment-based alternative, CDE’s
approach prevents the selection of some relatively large districts with low identification
rates—districts CDE considered to be small based on special education child count.
These districts had a much smaller chance of being selected by CDE because they were
in a small group with a collective identification rate above the cutoff.
         The table below shows the identification rate for 2017-18 for California, the
nation as a whole, and the nation excluding California, for students ages 6-21:

                                               CA                Nation17         Nation Excluding CA
 Enrollment                                 5,692,856           45,908,893             40,216,037
 Students with Disabilities                  683,709             6,130,637              5,446,928
 Identification Rate                         12.01%               13.35%                 13.54%

When the state is removed from the national data, California’s identification rate of
students 6-21 is 1.53 percentage points lower than the rest of the nation.

16 It is worth noting here an illustration of the importance of dividing districts based on size in some
fashion. Using CDE’s current approach of categorizing districts as small and non-small based on the
number of students with disabilities and its use of small groups, CDE selected a total of 130 districts for
child find monitoring. If instead CDE used overall enrollment without categorizing small and non-small
districts and selected the 130 districts with the lowest identification rates, all of these districts have
identification rates below 3.47%. However, 129 of these districts have fewer than 100 students with
disabilities age 6-21 (i.e., are “small” in CDE’s definition) and the other has 109 students with disabilities.
Of the 129 small districts, 48 have overall enrollments of 200 students or fewer. It is difficult to imagine
this scenario as an efficient use of monitoring resources.
17 2019 Data Display at

https://osep.grads360.org/#report/apr/2017B/publicView?state=CA&ispublic=tru at 1.


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       For children ages 3-5, the state’s identification rate as a percentage of the
population of that age group (based on the census rather than enrollment) is 5.6%,
versus 6.4% for the whole nation including California. Thus, the available data suggest
that the state is not identifying as many children and youth with disabilities as are
identified in the nation. Given the sheer number of children and students nationwide, it
is possible that the gap between California and the nation is not due to learning and
behavioral differences in the children themselves, but instead to different identification
practices. Only child find monitoring can establish whether these gaps are the result of
faulty implementation of the child find requirements.
       But it is also important to note that child find trends in the state are starting to
close the gap with the nation. The table below is based on the census for three school
years:

                               SY 2015-16            SY 2016-17            SY2017-18
California
Age 3-5                           5.2%                  5.4%                  5.6%
Age 6-21                          7.9%                  8.2%                  8.4%
Nation (including CA)
Age 3-5                           6.4%                  6.3%                  6.4%
Age 6-21                          9.1%                  9.1%                  9.2%

The table below shows the last three years for school-age students based on enrollment
rather than the census:

                               SY 2015-16            SY 2016-17            SY2017-18
California                      11.34%                11.70%                12.01%
Nation                          13.27%                13.23%                13.35%
Nation (excluding CA)           13.55%                13.45%                13.54%

These tables show the gap slowly narrowing over this period of time, for both preschool
children and for school-age students. This slow narrowing of the gap is due to
increases in the state’s identification rate, not decreases in the national rate.
        Due to the narrowing gap between the state and the nation and the use of a
higher identification rate cutoff compared to CDE’s first Phase 2 submission, the new
cutoff is a reasonable target to use to select large districts for targeted monitoring of
child find.

B. Least Restrictive Environment (school age)

      CDE’s submission includes the FFY 2019 extension targets and the prior year’s
performance in an attachment (Dkt. No. 2545 at 200). The table below shows these data
and national performance for the most recent year available:




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                                                     FFY 2017 Mean Rate
                                  FFY 2018             Across 60 States,         FFY 2019
          Indicator               California              Territories,           California
                                 Performance        Commonwealths, BIE)           Target
                                                    (includes California)18
 A. Percent students in                                                         Equal to or
 regular classes for greater        56.88%                  65.71%              greater than
 than 80% of the school day                                                        53.2%
 B. Percent students in                                                         Equal to or
 regular classes less than          19.53%                  10.68%               lower than
 40% of the day                                                                    20.6%
                                                                                Equal to or
 C. Percent students in
                                     3.1%                   2.83%                lower than
 separate placements
                                                                                    3.6%

As the table shows, California has already met each of the FFY 2019 extension targets.
Compared to the nation as a whole California places a lower percentage of students in
regular classes, a higher percentage in self-contained classes, and a higher percentage
in separate placements. The state’s targets are still set below statewide performance,
and the performance of the state as a whole remains below national levels, significantly
so in the case of A and B in the table above.
        The table below shows the trends for the last five years:

                                               FFY         FFY        FFY      FFY      FFY
                 Indicator
                                               2014        2015       2016     2017     2018
 A. Percent students in regular classes
                                              53.38%      54.07%     54.92% 56.10%     56.88%
 for greater than 80% of the school day
 B. Percent students in regular classes
                                              22.01%      21.54%     20.70%   19.82%   19.53%
 less than 40% of the day
 C. Percent students in separate
                                               3.31%      3.63%      3.56%    3.40%    3.10%
 placements

The trends here are in the right direction, although separate placements were above the
2014 levels for three years before declining in 2018.
       Turning to selection for targeted monitoring, as a result of the targets chosen by
CDE, fewer districts will be selected for monitoring than would be using more rigorous
targets.
       When a small LEA group is selected by CDE for any of these indicators, the
following secondary standards are used to select small districts from that small LEA
group:


182019 Data Display at
https://osep.grads360.org/#report/apr/2017B/publicView?state=CA&ispublic=tru at 1.


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     •   Students in regular classes for greater than 80% of the school day: No students in
         this placement.
     •   Students in regular classes less than 40% of the day: One or more students in this
         placement.
     •   Students in separate placements: One or more students in this placement.

       Because 2018 results were used by CDE to select districts for monitoring for the
current school year, the table below shows the number of non-small and small districts
selected by CDE for each of these three indicators based on the data provided by CDE:

                                                           Non-Small                  Small
                   Indicator                           # Below      #           # Below     #
                                                        Target  Selected         Target Selected
A. Percent students in regular classes for
                                                         204           204         131          1
greater than 80% of the school day
B. Percent students in regular classes less
                                                        19419          194         121          3
than 40% of the day
C. Percent students in separate
                                                         112           112         104          15
placements

As shown in the table, an overwhelming majority of the small districts that missed
CDE’s targets were not selected by CDE. This is the result of its small LEA grouping
methodology, which only looks deeply at a small district if it is in a selected small
group.

C. Least Restrictive Environment (preschool)

      CDE’s submission includes the FFY 2019 extension targets and the prior year’s
performance in an attachment (Dkt. No. 2545 at 200). The table below shows these data
and national performance for the most recent year available:

                                                                 FFY 2017 Mean
                                                                  Rate Across 60
                                           FFY 2018                                      FFY 2019
                                                                States, Territories,
               Indicator                   California                                    California
                                                                Commonwealths,
                                          Performance                                     Target
                                                                  BIE) (includes
                                                                    California)
 A. Percent children in regular                                                            Greater
                                              36.58%                   51%
 early childhood program                                                                 than 36.9%



19This number is an assumption. The data provided by CDE did not include these scores for the large
districts.


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                                                                  FFY 2017 Mean
                                                                   Rate Across 60
                                               FFY 2018                                     FFY 2019
                                                                 States, Territories,
                  Indicator                    California                                   California
                                                                 Commonwealths,
                                              Performance                                    Target
                                                                   BIE) (includes
                                                                     California)
 B. Percent children in separate
                                                                                           Lower than
 classes, separate schools, and                  33.84%                  20%
                                                                                             30.4%
 residential facilities

Neither of these FFY 2019 targets has been met, although one is close (and could be met
in FFY 2019). However, California lags far behind the nation: other states are having
more success placing children in regular programs, and are placing fewer children in
self-contained classes, separate school, and residential settings.
       The table below shows the trends for the last five years:

                                                    FFY          FFY        FFY         FFY       FFY
            Indicator
                                                    2014         2015       2016        2017      2018
 A. Percent children in regular early
                                                   32.91%      44.13%      45.19%     37.32%     36.58%
 childhood program
 B. Percent children in separate
 classes, separate schools, and                    34.41%      31.45%      29.86%     33.81%     33.84%
 residential facilities

The data suggest that 2015 and 2016 could have been the beginning of a positive trend
in the placements of preschool children. Unfortunately, the last two years for which
data are available show the placement patterns moving in the wrong direction.20
       When a small LEA group is selected by CDE for either of these indicators, the
following secondary standards are used to select small districts from that small LEA
group:

      •   Children in regular early childhood program: No students in this placement.
      •   Children in separate classes, separate schools, and residential facilities: One or
          more students in these placements.

      The table below shows the number of non-small and small districts selected by
CDE for both of these indicators based on the data provided by CDE:




20   CDE made the Court aware of this during the Phase 2 hearings. See the 4/29/19 transcript at 61-62.


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                                                      Non-Small                   Small
                  Indicator                       # Below       #           # Below     #
                                                   Target   Selected         Target Selected
A. Percent children in regular early
                                                       69          69          195          2
childhood program
B. Percent children in separate classes,
                                                     128           128         211          23
separate schools, and residential facilities

As was the case for selection for targeted monitoring for school-age least restrictive
environment, a large majority of the small districts below CDE’s targets were not
selected. This the result of CDE’s small district grouping and selection process.

        Conclusion: Noncompliant.
        Reasons for Conclusion: The new child find target is adequate to select large districts for
targeted monitoring. The current least restrictive environment targets are not ambitious enough
in light of state and national data. CDE’s use of its small LEA grouping and selection
methodology does not result in the selection of the lowest-performing small districts for targeted
monitoring of child find or least restrictive environment, and also results in an extremely small
number of districts selected for the least restrictive environment indicators.

                            VI. Intensive Monitoring-Preschool

        Although districts performing poorly with respect to preschool children could be
selected for some CDE targeted monitoring processes, the Court found that a separate
preschool monitoring activity was necessary. The Order also notes similarities between
CDE’s proposed (at that time) preschool review approach and its comprehensive review
selection methodology, and points out that neither approach appeared tied to a “clear
theory of statutory compliance” (Dkt. No. 2520 at 12-14; 23, fn. 10).
        CDE’s prior approach to selection for intensive monitoring of preschools used an
all-or-nothing method of scoring indicators—based on whether a particular standard
was or was not met—but did not consider the extent to which a standard was missed or
exceeded. CDE’s new methodology does not use absolute targets or standards; instead,
its new process uses actual scores via deciles in an attempt to identify the worst
performing districts.
        CDE’s new selection process uses four indicators, each of which is related to one
of three categories. The three categories are child outcomes (as measured by pre and
post assessment results), discipline, and placement. The three categories have a clear
relation with the FAPE and least restrictive environment requirements of the statute.
No category is related to child find.
        The table below shows each category, the indicators related to each category in
CDE’s current method, and the related indicators in CDE’s former approach:




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                Indicators: Current CDE
  Category                                          Indicators: Prior CDE Method
                        Method
 Outcomes     • average rate of child           • targets on all assessments
               outcomes                         • target for assessment participation rate
                                                • three- or four-year-olds suspended
              • rates of suspension and         • suspension rate for five-year-olds
 Discipline
                 expulsion                      • preschool suspensions more than one
                                                 day
              • rate of children who
                                                • target for regular classroom placement
               receive a majority of special
                                                • target for separate classroom or
               education/related services
                                                 program
               in a regular classroom
                                                •preschool child in residential
 Placement    • rate of children who
                                                 placement
               receive a majority of special
                                                • preschool child in nonpublic school
               education/related services
                                                 (more than one such child resulted in
               in separate schools and
                                                 automatic selection)
               placements

Although it does not fit neatly into CDE’s current categories, the prior method also
included as an indicator the timeliness of transition for Part C to Part B of the IDEA.
        Two of the four indicators in CDE’s current methodology are related to
placement. This reflects CDE’s view that placement in regular preschool classrooms
leads to better outcomes later in life, and therefore should be weighted more heavily in
selection.
        The scoring of each indicator is structured by deciles. The worst-performing 10%
of LEAs/small groups on each indicator are given a “1’” the next-worst a “2,” etc. Each
LEA/group’s scores on each indicator are summed and then divided by the total
possible score.
        There were 279 LEAs/groups that educated preschool children. In keeping with
its decile approach to each indicator, CDE selected approximately 10% of LEAs/groups
for intensive preschool monitoring. Because two LEAs had identical scores (32.5%),
CDE selected 29 LEAs/groups (one small LEA group, eleven elementary districts, and
seventeen unified districts).
        CDE then explains how a selected small LEA group’s data are further analyzed
to determine which of the districts in that group should be monitored. The submission
sets three criteria for selection; a district is selected if it meets any of the following
conditions:

   •   any preschool discipline (suspensions or expulsions)
   •   no children in regular classroom placements
   •   any children in separate placements

The category of assessment outcomes, used by CDE to rank districts and groups by
deciles, is not included among the small LEA selection criteria. The submission does


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   not explain why outcomes are excluded, but this may be explained by the large number
   of small districts that lacked outcome data (see below).
           There were 39 districts in the selected small LEA group. CDE selected 25 of these
   39 districts through application of its criteria. Thus, 53 districts total were selected for
   intensive preschool monitoring (25 small, 11 elementary, and 17 unified). With respect
   to the small districts, the submission includes two tables showing data for each of the
   three criteria for one selected district and one that was not selected. CDE mentions that
   the selected district also was one of the worst performers on preschool outcomes. (Dkt.
   No. 2545, Ex. 1 at 28-33).
           The preschool data provided by CDE were analyzed. A striking fact emerged
   from the initial analysis: the data showed that many districts did not have child
   outcome data. Six of the 217 large districts (2.76%), ten of the 62 small LEA groups
   (16.13%), and 793 of the 1,132 small districts (70.14%) did not have outcome data. One
   of the six large districts that lacked outcome data was selected for monitoring by CDE,
   and three of the 794 small districts without outcome data were selected by CDE.
           The lack of data on one indicator for the majority of small districts provokes the
   question of whether outcome data should be used for selection for these districts. In
   order to probe this issue, outcomes were excluded from the formula. The cut score was
   adjusted so that approximately the same number of LEAs and small LEA groups
   selected by CDE (29) would be selected. Using a cut score of 27%, 37 large LEAs and
   one small LEA group were selected. (Fourteen of the LEAs/small groups had an
   identical score, which is why more districts were selected by this method than by CDE.)
   Both methods selected 21 of the same districts, but a different small group was selected.
   Eliminating outcomes from the formula, an indicator that a non-trivial number of
   districts lack, may produce a more accurate view of the districts and groups in need of
   monitoring than when outcomes are included.
           The four indicators used by CDE were separated in order to determine the extent
   to which CDE’s approach selects the worst-performing large LEAs on each indicator.
   The worst performers of the large districts on each of the four indicators were
   identified, and the results are shown in the table below:

                                       Large Districts Only
                                                                              # of      % of
                                                                # of
                             # Districts Definition of                     Lowest-    Lowest-
                                                              Lowest-
        Indicator              With a     “Lowest-                          Scoring   Scoring
                                                              Scoring
                               Score      Scoring”                        Selected by Selected
                                                              Districts
                                                                             CDE      by CDE
                                              Average
Average rate of child
                                 211        Score below          20             7         35.00%
outcomes
                                                2.40
                                            Decile Score
Suspension and expulsion         217                             20             7         35.00%
                                                 of 1




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                                                                             # of      % of
                                                              # of
                             # Districts Definition of                    Lowest-    Lowest-
                                                            Lowest-
        Indicator              With a     “Lowest-                         Scoring   Scoring
                                                            Scoring
                               Score      Scoring”                       Selected by Selected
                                                            Districts
                                                                            CDE      by CDE
A. Children who receive a
majority of special                        Decile Score
                                217                            26             8           30.77%
education/related services                     of 1
in a regular classroom
B. Children who receive a
majority of special
                                           Decile Score
education/related services      217                            25             11          44.00%
                                               of 1
in separate schools and
placements

   As shown in the table, the majority of the lowest-performing large districts on each
   indicator were not selected by CDE.
          The table below compares the large districts selected by CDE with those not
   selected and shows the extent to which the large districts were among the lowest
   performers on these four indicators:

                                        Large LEAs           Large LEAs Not
                                      Selected by CDE        Selected by CDE
                                        #          %           #           %
               Total # Districts             28                     189
               None of the four         7       25.00%        140       74.07%
               One of the four         11       39.29%         40       21.16%
               Two of the four          8       28.57%          9        4.76%
               Three of the four        2        7.14%          0        0.00%
               All four                 0        0.00%          0        0.00%
               Total                   28       100.00%       189      100.00%

   The table shows that of the 28 large districts selected by CDE, 75.00% had a decile score
   of “1” on one, two, or three of the indicators, compared to 25.93% of the districts not
   selected. The 40 districts not selected by CDE that were among the lowest performers
   on one indicator were not selected because their other scores pulled them above the
   bottom 10% overall. Similarly, the seven selected districts that were not among the
   lowest in any indicator scored low enough on all indicators taken together that they
   were selected.
          The table below shows the effect on the selection of large districts of removing
   outcomes from the formula:




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                                   #                            # of          # of        % of
                                             Definition
                                Districts                     Lowest-       Lowest-     Lowest-
         Indicator                           of “Lowest-
                                 With a                       Scoring       Scoring     Scoring
                                              Scoring”
                                 Score                        Districts     Selected    Selected
                                             Decile Score
Suspension and expulsion           217                            20            4        20.00%
                                                  of 1
A. Children who receive a
majority of special                          Decile Score
                                   217                            26           12        46.15%
education/related services                       of 1
in a regular classroom
B. Children who receive a
majority of special
                                             Decile Score
education/related services         217                            25           14        56.00%
                                                 of 1
in separate schools and
placements

 Removing outcomes from the formula selects a significantly higher percentage of lower
 performing districts on the least restrictive environment indicators, but fewer low-
 scoring districts on suspension.
         As noted above, CDE has chosen to emphasize the least restrictive environment
 indicators in its formula. And, as was seen above in the Targets section of this report,
 California’s actual performance on these two indicators has declined in the last two
 school years. For those reasons, it would be sensible to ensure that the lowest-
 performing large districts in the state on these two indicators are selected for intensive
 monitoring. The formula without outcomes achieves that goal. But there are other
 ways to achieve that as well.
         There are five large districts that were not selected for monitoring but had a
 decile score of “1” on both least restrictive environment indicators; there are an
 additional 11 districts that were not selected that had a decile score of “1” on either of
 the least restrictive environment indicators and a decile score of “2” on the other. The
 selection of at least the five additional large districts scoring in the lowest decile on both
 least restrictive environment indicators would also achieve the goal of increased
 emphasis on least restrictive environment.
         In conclusion with respect to the selection of large districts, CDE’s current
 approach is strong: it selects those large districts whose data over the four indicators
 taken together merits monitoring. However, CDE does not select the majority of the
 large lowest-performing districts on least restrictive environment, a key monitoring
 priority of the IDEA and an important priority of the state.
         Turning to CDE’s selection process for small LEAs in a selected small group, as
 noted above CDE selects a district if any of three criteria are met (any preschool
 discipline, no children in regular classroom placements, or any children in separate
 placements). The table below compares the 25 small districts selected by CDE to all
 other small districts in the state:


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                                                  LEAs Selected      LEAs Not Selected
                                                    #       %           #          %
 Total # Districts                                     25                  1,107
 No children in regular classroom placements        2     8.00%        90        8.13%
 Any children in separate placements               23    92.00%        449      40.56%
 Any preschool discipline                           6    24.00%        49        4.43%

The districts not selected by CDE meet any of the three criteria to a far lesser extent than
the selected districts, with the exception of one—having no children in regular
classrooms; approximately the same percentage of the districts not selected meet this
standard.
       In order to determine whether CDE selected those districts that perform worse
on the three standards taken together, the table below shows the extent to which the
small districts selected and those not selected met CDE’s three criteria:

                                       Small LEAs          Small LEAs Not
                                         Selected              Selected
                                       #          %          #          %
              Total # Districts             25                  1,107
              None of the three        0        0.00%       592      53.48%
              One of the three         19      76.00%       442      39.93%
              Two of the three         6       24.00%       73        6.59%
              All three                0        0.00%        0        0.00%

No districts from either group met all three criteria. Over half of the LEAs not selected
met none of the criteria. Seen in this way, the selected districts have a much higher
chance of meeting any of the criteria. This is to be expected as those districts were in
the selected small group (although 14 of the districts not selected were also in that same
small group).
        CDE has set meeting any of these criteria as its method of selection for small
LEAs within a selected small group. Because no districts in either group met all three
criteria, an argument can be made that meeting two of the three criteria should be the
guide for selection, rather than only applying the criteria to small LEAs if they are in a
selected small group. But this approach would select 79 districts which is more than
three times the 25 small districts selected by CDE and may be beyond its available
monitoring resources.
        The table below looks at all the small districts with scores on any of the four
indicators in order to determine the extent to which CDE has chosen the lowest
performers on each indicator:




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                                     Small Districts Only
                                                                           # of        % of
                                # of                           # of
                                            Definition of                Lowest-     Lowest-
                              Districts                      Lowest-
        Indicator                            “Lowest-                    Scoring     Scoring
                               With a                        Scoring
                                             Scoring”                    Selected    Selected
                               Score                         Districts
                                                                         by CDE      by CDE
Average rate of child                       Average Score
                                   338                          32             4      12.50%
outcomes                                    below 50.00%
Suspension and expulsion        1,020       Rate > 2.00%        38             2       5.26%
Children who receive a
majority of special
                                1,132               0%          92             2       2.17%
education/related services
in a regular classroom
Children who receive a
majority of special
education/related services      1,132           100%            30             1       3.33%
in separate schools and
placements

  As seen in the above table, the overwhelming majority of the lowest-performing small
  districts on each indicator were not selected by CDE. This is due to the effect of CDE’s
  small LEA grouping method which only looks deeply at a small district if a particular
  small group of which it is a member is selected.
          The table below compares the small districts selected by CDE with those not
  selected, and shows the extent to which the small districts were among the lowest
  performers on these four indicators:

                                          Small LEAs        Small LEAs Not
                                            Selected            Selected
                                          #          %        #          %
               Total # Districts               25                1,107
               None of the four           17      68.00%     953      86.09%
               One of the four            7       28.00%     125      11.29%
               Two of the four            1        3.33%     29        2.62%
               Three of the four          0        0.00%      0        0.00%
               All four                   0        0.00%      0        0.00%

  Seventeen of the districts selected by CDE were not among the lowest performers on
  any indicators.
         These data suggest that an alternative methodology to select small districts for
  intensive review of preschools would be to select the 30 districts that were among the
  lowest performers on two of the four indicators. However, all 30 of these small districts
  had only one, two, or three children with disabilities. Two of the 25 small districts
  selected by CDE had fewer than five children; the other 23 had preschool populations


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between eight and 94 children, which is a good size range of districts. Although the
districts chosen by this alternative are lower performing on the indicators, monitoring
the small districts selected by CDE will affect more children.
        CDE’s data shows that 574 of the 1,132 small districts (50.71%) had four or fewer
preschool children with disabilities. However, there are 558 small districts that have at
least five preschool children. The implications of this for selecting small districts for
monitoring could also be considered.
        An alternative approach for the selection of small LEAs is the use of the same
formula for small LEAs as is used for large LEAs. Due to the relative paucity of
outcome data for these districts, outcomes were excluded from the formula. Decile
scores were created based only on the small LEA scores for each of the three indicators.
Each district’s score was then summed and divided by the appropriate total to get a
percent score (similar to how this process was done for large LEAs). Using this method,
the lowest-performing small districts could be selected for intensive monitoring.21
        In this scenario, the 26 lowest-scoring districts were selected. This selection was
not disaggregated by district size but, given the number of very small LEAs that serve
preschoolers, that could be considered. The districts, for example, could be
differentiated into those with fewer than five children with disabilities and those with at
least five; a given number of districts could then be selected from each group. Of the 26
lowest-scoring districts, seven have fewer than five children with disabilities.
        The table below shows the extent to which the 26 districts fell into the lowest
decile on each indicator:

                                          Small Districts Only
                                                                                     # of           % of
                                # of                                 # of          Lowest-         Lowest-
                                             Definition of
                              Districts                            Lowest-         Scoring         Scoring
       Indicator                              “Lowest-
                               With a                              Scoring        Selected        Selected
                                              Scoring”
                               Score                               Districts       by New          by New
                                                                                  Approach        Approach
Suspension and
                                1,020            Decile 1              55               2           3.64%
expulsion
Children who receive
a majority of special
education/related               1,132            Decile 1             113               8           7.08%
services in a regular
classroom




21Note that in creating decile scores for the small LEAs, there is a restriction of variability problem. For
example, for suspensions, there are only two decile scores created, 1 and 6. This is an area that would
need to be discussed and explored further.


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                                                                       # of        % of
                           # of                          # of        Lowest-      Lowest-
                                     Definition of
                         Districts                     Lowest-       Scoring      Scoring
      Indicator                       “Lowest-
                          With a                       Scoring      Selected     Selected
                                      Scoring”
                          Score                        Districts     by New       by New
                                                                    Approach     Approach
Children who receive
a majority of special
education/related
                           1,132        Decile 1          121           20        16.53%
services in separate
schools and
placements

Compared to CDE’s method, the new approach selects fewer of the lowest-performing
districts on suspension, but six more for the first least restrictive environment indicator
and 19 more for the second. Overall, this method selects more of the lowest-performing
districts than does CDE’s method.
        The table below does not use deciles but defines lowest-scoring using absolute
values:

                                                                       # of        % of
                           # of                          # of        Lowest-      Lowest-
                                      Definition of
                         Districts                     Lowest-       Scoring      Scoring
      Indicator                        “Lowest-
                          With a                       Scoring      Selected     Selected
                                       Scoring”
                          Score                        Districts     by New       by New
                                                                    Approach     Approach
Suspension and
                           1,020      Rate > 2.00%        38            10        26.32%
expulsion
Children who receive
a majority of special
education/related          1,132          0.00%           92            6          6.52%
services in a regular
classroom
Children who receive
a majority of special
education/related
                           1,132          100%            30            5         16.67%
services in separate
schools and
placements

The table above illustrates the difference between using absolute values versus decile
values. For example, the first decile for the regular classroom indicator includes
districts with scores ranging from 0.00%-18.75%. The absolute approach looks only at
districts that have a score of 0.00%. The approach that uses absolute values selects


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more, and a higher percentage, of the lowest-performing districts than the approach
that uses deciles, but there are advantages to using a decile approach (e.g., each variable
in the formula is given equal weight by flattening the distributions).
        The above analyses suggest that CDE’s method does not select the lowest-
performing small districts for intensive preschool monitoring. This is a direct result of
its small group methodology.

         Conclusion: Noncompliant.
         Reasons for Conclusion: The indicators used in CDE’s formula have a clear relation to
the FAPE and least restrictive environment requirements of the statute. Because many districts
lack outcomes data, particularly small districts, consideration can be given to removing
outcomes from the formula. Although a majority of the lowest-performing large districts on each
indicator are not selected by CDE, the formula selects those large districts whose data over the
four indicators merits intensive monitoring. This is an important accomplishment by CDE.
         Because least restrictive environment is a statutory priority, and a priority for CDE due
to recent data trends, a higher percentage of the lowest-performing large districts on least
restrictive environment would be selected if outcomes were removed from the formula, or
through selecting additional districts that scored in the first decile, or the first and the second
decile, on both least restrictive environment indicators.
         For small districts, the overwhelming majority of the lowest-performing small districts
on each of the four indicators were not selected by CDE. This is due to the effect of CDE’s small
LEA grouping methodology.

                           VII. Intensive Monitoring-School Age

        The Court determined that CDE’s system of selecting school districts for
comprehensive review was “legally inadequate” (Dkt. No. 2520 at 24) due to two major
flaws: CDE’s approach did not select enough districts, and the state selected the wrong
districts because some better-performing districts were selected while some worse-
performing districts were not. The Phase 2 Order found a number of reasons for this:

   •   the scoring system for indicators included in the selection formula measured
       only whether a target was met or missed, but did not measure the extent to
       which it was met or missed;
   •   the scoring system placed a clear priority on one-year improvements or
       regressions, even minor ones;
   •   the selection formula was unweighted, and thus treated all indicators as equally
       important regardless of how strongly an indicator was related to FAPE;
   •   child find was not included as an indicator although it is a priority area for
       monitoring; and
   •   the cut score used for selection was somewhat arbitrary, not tied to a theory of
       compliance, and based in part on resource constraints (Dkt. No. 2520 at 18-24).




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       As was the case for intensive monitoring of preschools, it is clear from CDE’s
submission that it endeavored to take much of the Phase 2 Order to heart as it set about
redesigning its approach to selection for this monitoring process. As will be discussed
in detail below, key features of CDE’s new process include the use of fewer indicators,
the use of indicators more closely associated with FAPE in the least restrictive
environment, no consideration of improvement and regression on indicators, and no
use of targets, in order to select the lowest-performing districts in the state. These are
very positive changes.
       However, CDE’s new selection process does not include an indicator related to
the monitoring priority area of child find. Currently CDE’s child find monitoring is a
targeted, rather than intensive, monitoring process. The substance of targeted
monitoring of child find is a Phase 3 issue.
       The final model adopted by CDE22 uses six indicators in three categories as
shown in the table below (Dkt. No. 2545, Ex. 1 at 22-23):

           Category                                       Indicators
                                  • Proficiency Rate in English/Language Arts
 Academic Achievement
                                  • Proficiency Rate in Math
                                  • Rate of Suspension
 Educational Climate
                                  • Rate of Chronic Absenteeism
                                  • Rate of Students in Regular Class Greater than 80% of
 Least Restrictive
                                   the day
 Environment
                                  • Rate of Students in Separate Schools and Placements

The indicators in CDE’s formula have a clear relation to the FAPE and least restrictive
environment requirements of the statute.
        The submission includes details about the models considered by CDE before it
arrived at this final model. While the models and variations considered will not be
discussed in this report, three decisions made by CDE during its consideration process
merit mention before proceeding.
        First, CDE decided to exclude from its approach to selection indicators that only
applied to high schools and to former students after the end of secondary schooling
(graduation, dropout, and post-school outcomes) because these indicators do not apply
to elementary schools (Dkt. No. 2545, Ex. 1 at 21). CDE’s view is that the indicators
used should be stable across all districts in order to identify the worst-performing
districts. As the Emma C. litigation does not include students after eighth grade,
analysis of the effect of this decision is beyond the scope of this report.
        Second, CDE elected not to use the indicator regarding students placed in
regular classes less than 40% of the day. Two reasons are advanced for this decision: 1)
CDE did not wish to overweight placement by including three related indicators
(although CDE could have included all three least restrictive environment indicators

22CDE introduces the model with the phrase “CDE proposes” (Dkt. No. 2545, Ex. 1 at 22). It is therefore
not clear that this model is in use during the current school year.


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and weighted them so that the least restrictive environment category received one-third
of the weight in the final formula as it currently does with the two indicators); and 2) it
wanted to encourage increased access to general education classrooms, rather than
focusing on lowering the number of students in self-contained classrooms (Dkt. No.
2545, Ex. 1 at 21-22). The effect of this decision will be studied below, as its supporting
reasoning is questionable in light of state and national data.
        Third, initially CDE considered having only one school climate indicator,
suspension rate, and double weighing it so that all three categories had equal weight.
Instead, CDE ultimately decided to include the rate of chronic absenteeism—absences
of at least 10% of the instructional days the student was enrolled in a school—to capture
students who are not engaged in school or are not feeling adequately supported (Dkt.
No. 2545, Ex. 1 at 22). The decision by CDE to use chronic absenteeism in this fashion is
a useful and important component of its formula.
        Turning to CDE’s process of scoring and ranking districts, scoring of each
indicator uses deciles. The worst-performing 10% of LEAs/small groups on each
indicator are given a “1’” the next-worst a “2,” etc. Each LEA/small group’s scores on
each indicator are added and then divided by the total possible score to yield the LEA’s
or small LEA group’s score.
        For students ages 6-21 there were 728 LEAs and small LEA groups. CDE
determined that at least 10% of LEAs in the state should be selected for this intensive
monitoring process. Because eleven LEAs/groups were tied at the lowest end of the
lowest 10% (score of 30%), CDE included all of them. This resulted in the selection of 83
LEAs and small groups (one small group, one county office of education, ten
elementary districts, 23 high school districts, and 48 unified districts).
        CDE then analyzes the small LEA group’s data. The group selected consisted of
two LEAs. CDE analyzes each of the small LEAs and selects those that meet any of
these criteria:

   •   no students proficient in English/Language Arts assessments
   •   no students proficient in Math assessments
   •   no students in regular classes 80% or more
   •   any students in separate schools and placements
   •   any students suspended
   •   any students chronically absent

Both of the small districts met these criteria and were selected.
        The submission includes tables showing the data for each of these two districts.
The first district met three of the criteria, and the other met only one. CDE writes that
this latter district did not contribute to the small group’s poor performance in two of the
three categories. But the district did not have any students proficient in
English/Language Arts and was therefore selected.
        Thus, 84 LEAs were ultimately selected for intensive school-age monitoring (two
small LEAs, one county office of education, ten elementary districts, 23 high school



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 districts, and 48 unified districts). These LEAs serve about 16% of the school-age
 students with disabilities in the state (Dkt. No. 2545, Ex. 1 at 23-27).
         The table below shows the extent to which the 666 large districts in the state
 performed in the lowest decile for each indicator in CDE’s formula, and the number and
 percentage of those districts selected by CDE:

                                    Large Districts Only
                                                                      # of           % of
                         # of                          # of
                                    Definition                     Lowest-         Lowest-
                       Districts                     Lowest-
    Indicator                       of “Lowest-                     Scoring         Scoring
                        With a                       Scoring
                                     Scoring”                     Selected by     Selected by
                        Score                        Districts
                                                                     CDE             CDE
                                    Decile Score
ELA Proficiency           664                           70              28          40.00%
                                        of 1
                                    Decile Score
Math Proficiency          664                           69              23          33.33%
                                         of 1
A. Percent
students in regular
                                    Decile Score
classes for greater       666                           71              33          46.48%
                                        of 1
than 80% of the
school day
C. Percent
students in                         Decile Score
                          666                           69              26          37.68%
separate                                of 1
placements
                                    Decile Score
Suspension                665                           68              37          54.41%
                                        of 1
                                    Decile Score
Absent                    662                           55              24          43.64%
                                        of 1

 CDE selected a majority of the large districts in the lowest decile for suspensions. For
 the other indicators in its formula, it did not select a majority of the lowest performers,
 although some were close.
         As noted above, CDE elected not to include in its selection approach the least
 restrictive environment indicator that concerns placements in regular classes less than
 40% of the day. The table below shows the extent to which the large districts in the
 lowest decile for that indicator were nevertheless selected:




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                                        Large Districts Only
                                                                          # of           % of
                            # of                            # of
                                        Definition                     Lowest-         Lowest-
                          Districts                       Lowest-
      Indicator                         of “Lowest-                     Scoring         Scoring
                           With a                         Scoring
                                         Scoring”                     Selected by     Selected by
                           Score                          Districts
                                                                         CDE             CDE
B. Percent students
in regular classes                      Decile Score
                            666                              66            21           31.82%
less than 40% of                            of 1
the day

 CDE’s formula picked up fewer than one-third of the lowest-performing large districts
 on this indicator. The decision not to include this indicator is striking when one
 considers the extent to which California lags behind the nation in the extent to which
 students are educated in regular classes less than 40% of the day compared with
 separate placements:

                                       FFY 2018        FFY 2017 Mean Rate Across 60 States,
              Indicator                California       Territories, Commonwealths, BIE)
                                      Performance             (includes California)23
      B. Percent students in
      regular classes less than         19.53%                        10.68%
      40% of the day
      C. Percent students in
                                         3.1%                         2.83%
      separate placements

 The state is far closer to the nation in its use of separate placements than in its use of
 separate classrooms.
        The choice to emphasize that indicator (C. above) over the one that measures
 students who spend little time in regular classes (B. above), in light of the state and
 national data, is difficult to understand. In addition, statistically there is not much
 variability in C. The difference between a district in the first decile and a district in the
 tenth is as little as 4.6%. In contrast, the variability in B. between the first and tenth
 decile (the smallest difference between a district in the first and one in the tenth) is
 26.2%. The state has wider variability in LEA performance and more need for
 improvement in its use of separate classrooms than in its use of separate schools.
 Therefore, selecting districts for monitoring based in part on separate classroom usage
 is more compatible with the effective monitoring of districts.
        For that reason, two alternatives to CDE’s formula were analyzed. First, B. above
 was substituted for C. in CDE’s formula. Of the 82 lowest-scoring large districts
 selected by this alternative, 64 were also selected by CDE with its formula. Next, all

 232019 Data Display at
 https://osep.grads360.org/#report/apr/2017B/publicView?state=CA&ispublic=tru at 1.


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three of the least restrictive environment indicators were included and collectively
given one-third weight (with the two proficiency indicators getting another third, and
the climate variables getting the other third). Of the 82 lowest-scoring large districts
selected by this alternative, 71 were also selected by CDE. CDE’s formula and the two
alternatives selected 64 of the same districts.
       The following two tables show the extent to which the 82 selected large districts
scored in the first decile on the six indicators using CDE’s formula and the alternative
formula substituting B. for C.

                                     CDE’s Formula
     # Indicators at or            Not Selected                      Selected
      Below Decile 1            #              %                #               %
             0                 416           71.2%              10            12.2%
             1                 120           20.5%              16            19.5%
             2                  36            6.2%              29            35.4%
             3                  9             1.5%              14            17.1%
             4                  3             0.5%              10            12.2%
             5                  0             0.0%              3              3.7%
             6                  0             0.0%              0              0.0%
           Total               584          100.00%             82           100.00%

                       Alternative Formula Substituting B. for C.
     # Indicators at or          Not Selected                   Selected
      Below Decile 1           #             %              #             %
             0               421           72.1%            5            6.1%
             1               121           20.7%            22          26.8%
             2                33            5.7%            22          26.8%
             3                 9            1.5%            16          19.5%
             4                 0            0.0%            15          18.3%
             5                 0            0.0%            1            1.2%
             6                 0            0.0%            1            1.2%
           Total             584          100.00%           82         100.00%

In CDE’s formula, 32.9% (n=20) of the selected 82 districts score in the first decile on
three or more indicators. In the alternative formula, 40.2% (n=33) of the selected 82
districts score in the first decile on three or more indicators. Thus, use of the alternative
formula selects a higher number of the lowest-performing districts.
        The table below shows the extent to which the large districts in the state
performed in the lowest decile for each indicator in the alternative formula, and the
number and percentage of those districts selected by this formula:




                                             35
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                       Alternative Formula Substituting B. for C.
                        # of                      # of            # of               % of
                                  Definition
                      Districts                 Lowest-        Lowest-             Lowest-
    Indicator                    of “Lowest-
                       With a                   Scoring        Scoring             Scoring
                                   Scoring”
                       Score                    Districts      Selected            Selected
                                 Decile Score
ELA Proficiency         664                        70              32              45.71%
                                      of 1
                                 Decile Score
Math Proficiency        664                        69              29              42.03%
                                       of 1
A. Percent
students in
                                   Decile Score
regular classes for      666                           71              35          49.30%
                                       of 1
greater than 80%
of the school day
B. Percent
students in
                                   Decile Score
regular classes          666                           66              28          42.42%
                                       of 1
less than 40% of
the day
                                   Decile Score
Suspension               665                           68              38          55.88%
                                       of 1

                                   Decile Score
Absent                   662                           55              23          41.82%
                                       of 1


The alternative approach selects a few more of the lowest-scoring large districts on each
of the six indicators with the exception of the chronic absence indicator; for that
indicator the alternative formula selects one fewer district.
        The differences between the two formulas in the large districts selected are not
big but do make a difference. Given the small gap between the state and the nation on
C. compared with the large gap on B., the alternative formula is more likely to select
districts in need of monitoring of their use of self-contained classrooms and slightly
more likely to select the lowest-performing districts on all but one of the other
indicators. That said, CDE’s formula is strong; it does a reliable job selecting districts in
need of intensive monitoring.
        Turning to the selection of small LEAs, as noted above CDE selected only two
small LEAs for intensive school age monitoring. One of these districts had one student
with a disability, and the other had 43 (numbers based on census count for ages 6-21).
This is the result of CDE’s small grouping method, which only looks deeply at small
LEAs if they are in a selected small group. There is little point in attempting to develop
alternative approaches that would result in the selection of only two small districts for
intensive monitoring. Instead, alternatives were analyzed that would result in the
selection of a reasonable number of districts.


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       There are 1,571 small districts; six of these had no scores for any of the six
indicators. Using the alternative formula, the one that uses B. rather than C., the table
below shows the number and percentages of the 1,565 remaining small districts
performing in the lowest decile on each indicator; these decile scores were created
based only on the small districts24:

                                                                                              # (%) of
                                           # of                              # (%) of         Lowest-
                                                           Definition
                                         Districts                           Lowest-           Scoring
            Indicator                                      of “Lowest-
                                          With a                             Scoring        Districts that
                                                            Scoring”
                                          Score                              Districts       have Fewer
                                                                                            than 10 SWD
                                                           Decile Score
 ELA Proficiency                           1,472                             253 (17%)       101 (39.92%)
                                                               of 1
                                                           Decile Score
 Math Proficiency                          1,470                             399 (27%)       122 (30.58%)
                                                                of 1
 A. Percent students in
                                                           Decile Score
 regular classes for greater               1,565                             156 (10%)        57 (36.54%)
                                                               of 1
 than 80% of the school day
 B. Percent students in
                                                           Decile Score
 regular classes less than                 1,565                             157 (10%)        55 (35.03%)
                                                               of 1
 40% of the day
                                                           Decile Score
 Suspension                                1,547                             154 (10%)         15 (9.74%)
                                                               of 1
                                                           Decile Score
 Absent                                    1,525                             153 (10%)        68 (44.44%)
                                                               of 1

There are many more low-performing small districts than the two selected by CDE.
One of the two selected by CDE scored in the lowest decile on the two least restrictive
environment indicators, and the other on the proficiency in English/Language Arts
indicator.
         The table also illustrates the difficulty in selecting small districts. It is not
unusual for very small districts to have “extreme” scores on both ends of an indicator,
i.e., scoring at 0% or 100%. Of the 1,565 small districts, 18% have fewer than ten
students with disabilities.
         An alternative approach to selecting small LEAs would be to use the same
formula for small LEAs as is used for large LEAs. The districts’ scores on each indicator
were summed, and divided by the appropriate total to get a percent score (similar to
how this process was done for large LEAs). Using this method, CDE could then select
the lowest-performing small districts for intensive monitoring.

24By definition, for each indicator, 10% of districts should perform in the lowest decile. For ELA and
Math proficiency, the higher percentage of districts in the first decile is indicative of the percentage of
districts that had 0.00% proficient on these indicators.


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       For example, if CDE selected the 11 lowest-scoring districts or the 24 lowest-
scoring districts, the table below shows the results:

                                   # of                          # (%) of
                                               Definition
                                 Districts                       Lowest-         Select      Select
          Indicator                            of “Lowest-
                                  With a                         Scoring           11          24
                                                Scoring”
                                  Score                          Districts
                                               Decile Score
 ELA Proficiency                   1,472                         253 (17%)          5           9
                                                   of 1
                                               Decile Score
 Math Proficiency                  1,470                         399 (27%)          5          11
                                                    of 1
 A. Percent students in
 regular classes for                           Decile Score
                                   1,565                         156 (10%)         10          20
 greater than 80% of the                           of 1
 school day
 B. Percent students in
                                               Decile Score
 regular classes less than         1,565                         157 (10%)          9          17
                                                   of 1
 40% of the day
                                               Decile Score
 Suspension                        1,547                         154 (10%)          7          15
                                                   of 1
                                               Decile Score
 Absent                            1,525                         153 (10%)          5          12
                                                   of 1

In the group of the eleven lowest-scoring districts, five have fewer than ten students
with disabilities. In the group of the 24 lowest-scoring districts, nine have fewer than
ten students with disabilities. Modifications could be made to the formula to restrict to
a census count of ten students or above, or some other minimum n, in order to ensure
that a reasonable number of districts are selected for each small size group.
        Compared with the method currently used by CDE, this alternative approach to
the selection of small districts selects a higher number of lower-performing districts for
intensive monitoring. It also does not depend upon the use of small groups.

         Conclusion: Noncompliant.
         Reasons for Conclusion: The indicators used by CDE to select districts have a clear
relation to important requirements of the IDEA, with the exception of child find. Although
CDE’s formula does not select the majority of the lowest-performing large districts on five of the
six indicators, CDE’s formula is strong and does a reliable job of selecting large districts for
intensive monitoring. The formula could be made more compatible with the effective monitoring
of districts by substituting the indicator measuring placements in separate classrooms for the
indicator measuring placements in separate schools.
         For small districts, although it is challenging to create an effective selection approach, the
application of CDE’s small LEA grouping methodology does not result in the selection of the
lowest-performing districts and does not select enough small districts for intensive monitoring.



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                      VIII. Status Updates on Outstanding Issues

A. Restraint and Seclusion (Phase 2 Status)

        The Phase 1 Order found the state compliant on data collection regarding
restraint and seclusion (Dkt. No. 2428 at 26-28). With respect to the Phase 2 issues,
analysis of these data, CDE states that it is collecting data from LEAs during the current
school year (2019-20), and will use the data for monitoring in the 2020-21 school year.
Its calculations and selection approach will be submitted, it anticipates, in future phases
of this inquiry (Dkt. No. 2545, Ex. 1 at 18).
        Thus, a conclusion on the Phase 2 aspect of this issue cannot yet be reached.

B. IEP Implementation (Phases 1 and 2 Status)

        The Phase 1 Order found the state noncompliant on the collection of IEP
implementation data. The Order states that this inquiry will return to this issue during
Phase 4 (Dkt. No. 2428 at 13-18).
        CDE provides an update in its submission, stating that the approach under
consideration includes the collection of IEP implementation data from each LEA using a
statistically significant sample of students. Districts and students will be randomly
selected in order to determine the validity and reliability of the data. CDE anticipates
working with experts in sampling, and designing a data collection form, during the
current school year. It expects to pilot its data collection methodology with a sample of
LEAs in the 2020-21 school year, collect the data from all LEAs in the 2021-22 school
year, and use the data in monitoring during the 2022-23 school year (Dkt. No. 2545, Ex.
1 at 34-35).
        Thus, conclusions on the Phase 1 and Phase 2 aspects of this issue cannot yet be
reached.




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